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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA


V.                                  NO: 4:11CR00129-19 JMM


MARGARET DIANN HENRY

                                  ORDER OF DISMISSAL

       The Court granted the Defendant’s motion for judgment of acquittal as to this defendant

on October 11, 2012. Accordingly, all charges against Margaret Diann Henry are dismissed.

       IT IS SO ORDERED this 16th day of October, 2012.




                                                   ______________________________
                                                   James M. Moody
                                                   United States District Judge
